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Case No. 25-2985

GQnuited States Court of Appeals for the s2inth Circuit

EPIC GAMES, INC.,
Plaintiff—Appellee,

U.

APPLE INC.,
Defendant—Appellant.

On Appeal from the United States District Court
for the Northern District of California (Hon. Yvonne Gonzalez Rogers)
No. 4:20-cv-05640-YGR

REPLY IN SUPPORT OF MOTION FOR A PARTIAL STAY OF
INJUNCTION PENDING APPEAL

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INTRODUCTION

Epic’s response is more notable for what it doesn’t say than what it
does. It does not explain how an injunction that says nothing about
commissions suddenly sets the commission for out-of-app purchases at
zero percent—in perpetuity. It does not reconcile that commission
prohibition with the district court's previous recognition that Apple
“could still charge a commission” for non-IAP purchases. Epic Games, Inc.
v. Apple Inc., 559 F. Supp. 3d 898, 1042 (N.D. Cal. 2021), affd, 67 F.4th 946
(9th Cir. 2023), cert. denied, 144 S. Ct. 681 & 682 (2024). And it does not
explain how a narrow injunction against precluding in-app links became
a total bar on Apple’s ability to regulate content within its own App
Store. That is because Epic has no answer: The district court went far
beyond enforcing the original Injunction, issuing new prohibitions that
radically transform the narrow remedy previously upheld by this
Court. These punitive sanctions violate every rule of contempt and
contravene multiple constitutional protections. A partial stay is
warranted.

Start with the most glaring omission in Epic’s response: It fails to

identify anything in the Injunction that prohibits Apple from charging a
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commission. The silence speaks volumes. The district court admitted that
the Injunction “did not select a rate,” Mot., Ex. A at 58, yet the court used
civil contempt to impose an arbitrary rate of zero. Epic simply ignores that
passage. Epic also ignores the court’s statement that the court imposed the
commission prohibition—without statutory or constitutional authority—
because “Apple flouted the Court’s order.” Jd. at 60 n.65. That powerfully
confirms that the new rule is punitive.

So too for the court’s ruling barring any conditions on link placement
or language. Again, Epic identifies nothing in the Injunction setting forth
such an extreme proscription. And the district court refused to adjudicate
Apple’s significant objections to this new rule because of what it labeled
Apple's “true motive[s].” Jd. at 62. That exceeds the civil contempt power.

Epic also has no sound response to the conflict between state and
federal judgments that precludes prospective enforcement of the original
Injunction. California’s courts have decided the identical state-law claim in
Apple’s favor, and federal courts must give full faith and credit to that
judgment.

Epic does not dispute that Apple will be irreparably harmed by the no-

commission and no-condition rules—by the district court’s estimate, losing
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“hundreds of millions to billions” of dollars a year. Id. at 16. Developers are
already taking advantage of the unlawful new prohibitions to disparage and
undermine the exclusivity of [AP—in contravention of this Court’s mandate.
By contrast, Epic fails to show how a partial stay would harm it, and fails to
dispute the evidence showing that the public interest favors a stay because
the Order destabilizes a platform trusted by small developers and millions
of consumers. This Court should pause the no-commission and no-condition
rules until this expedited appeal has been decided.
DISCUSSION

I. Apple Is Likely to Succeed on the Merits

Epic does not dispute that civil contempt is objective and cannot be
used to punish non-compliance—regardless of any findings about subjective
intent or motivation. See Taggart v. Lorenzen, 587 U.S. 554, 561, 565 (2019);
Intl Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 826-28
(1994). Thus, while Apple strongly disagrees with many of the district court’s
factual findings, to which Epic devotes much of its response, they are

irrelevant to this stay motion.”

* Many of the findings are unsupported or clearly erroneous. For
example, the district court found that Apple “knew it was violating the
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As the Fifth Circuit recently emphasized in vacating contempt
sanctions, “intent is unimportant to civil contempt.” Carter v. Loc. 556,
Transp. Workers Union of Am., 2025 WL 1340536, at *30 (5th Cir. May 8,
2025) (quotation marks omitted); see also In re Highland Cap. Mgmt., L.P.,
98 F:4th 170, 176 (5th Cir. 2024) (the defendant’s “intentions—and virtually
all of the discovery and the ... court’s mini-trial—were irrelevant to civil
contempt’). Indeed, such findings warrant increased appellate scrutiny:
“[W]hen a court’s contempt sanction in a civil matter is both overbroad in
scope and undoubtedly punitive in nature, the judiciary risks appearing
contemptuous like the contemnor.” Carter, 2025 WL 1340536, at *30.

The no-commission and no-condition rules that Apple seeks to stay are
overbroad and punitive. Epic claims the court “simply impose[d] restrictions
on the specific actions Apple took to violate the Injunction,” which were
“designed to be and were a de facto prohibition on steering.” Opp’n 3, 5
(quotation marks omitted). But the new prohibitions go far beyond those

actions and imposing them forever (with no opportunity to purge) is plainly

Injunction.” Ex. Aat 59. But the record shows only that “at every step Apple
considered whether its actions would comply.” Jd. (emphasis added). Careful
consideration of an injunction’s requirements is a sign of good faith, not
willful disobedience.
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not “the minimum sanction necessary to obtain compliance.” Whittaker
Corp. v. Execuair Corp., 953 F.2d 510, 517 (9th Cir. 1992). They permanently
and categorically bar Apple from charging any commission or imposing any
conditions on link placement or language. Apple is likely to succeed on the
merits of its challenges to those new prohibitions.

A. The No-Commission Rule Is Unlawful

Epic pointedly fails to identify anything in the Injunction that
prohibits Apple from charging a commission on linked transactions. Epic
asserts that Apple “violated the literal text,” Opp’n 12 (quotation marks
omitted), but it does not identify any text—literal or otherwise—that
enjoined Apple from charging any commission. None exists.

Epic invokes the Rule 52 Order to argue that charging a commission
frustrates the Injunction’s “purpose.” Jd. at 16. But Epic does not mention
Rule 65, which requires the injunction itself to “describe in reasonable
detail—and not by referring to [any] other document—the act or acts
restrained or required.” Fed. R. Civ. P. 65(d)(1)(C). The Injunction nowhere
hints that the “acts restrained’ include charging any commission. Indeed,
the district court acknowledged that the original Injunction “did not select a

rate.” Ex. Aat 58.
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Epic argues that courts can enforce an injunction’s “spirit” divorced
from its text. Opp’n 16 (citing Inst. of Cetacean Rsch. v. Sea Shepherd
Conservation Soc’y, 774 F.3d 935 (9th Cir. 2014)). But Sea Shepherd found
contempt where the enjoined party perpetrated an expressly enjoined act
indirectly (through third parties). Epic cites no case holding a defendant in
contempt for engaging in entirely new and different conduct that the
injunction does not mention—and then entering a permanent sanction that
goes far beyond the defendant’s particular conduct without adjudicating the
legality of the new prohibition.

Epic also overlooks the district court’s prior determination (affirmed by
this Court) that “in the absence of IAP, Apple could still charge a commission
on developers.” 559 F. Supp. 3d at 1042. That statement, and many others,
see, e.g., id. at 10138, 1042 n.617, contextually confirm that the original
Injunction did not prohibit a commission. Moreover, this Court recognized
that “economically rational developer[s] would choose to use alternative
[payment] processors’ even if Apple “collect[ed] a commission on payments.”
67 F.4th at 996 (quotation marks omitted). Epic is thus wrong that any

commission is inconsistent with the Injunction.
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Epic contends that Apple seeks “immunity from civil contempt,” like in
McComb v. Jacksonville Paper Co., 336 U.S. 187, 192 (1949). Opp’n 14. Not
so. The injunction in McComb “|bly its terms” enjoined future violations of
the Fair Labor Standards Act, so it unambiguously enjoined the defendant’s
later violations of that Act. 336 U.S. at 192. By contrast, charging a
commission is unambiguously outside the Injunction and is perfectly lawful.

Epic also has no answer to the extensive indicia—including the district
court’s focus on Apple’s motives—that the new commission prohibition is
punitive. Cf. Highland, 98 F.4th at 176 (finding sanctions punitive when the
court “permitted extensive discovery and conducted a marathon evidentiary
hearing to unearth” the defendant’s “role” and “intentions”). Epic does not
deny that Apple has no ability to purge the sanction, so it is not coercive. Nor
does Epic claim that it is remedial. And Epic ignores the district court’s
refusal to adjudicate Apple’s defenses because “Apple flouted the Court's
order.” Ex. Aat 60n.65. That is punishment.

The commission prohibition is unlawful as a matter of substantive law.
California courts reject efforts to use the UCL for rate-setting. See Mot. 13—

14 (collecting cases). Federal courts likewise refuse to engage in “detailed

rate-setting.” In re Google Play Store Antitrust Litig., 2024 WL 4438249, at
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*9 (N.D. Cal. Oct. 7, 2024). Epic asserts those cases do not “immunizel]]
Apple’s conduct” because they do not address contempt. Opp’n 17. That
proves Apple’s point: The original UCL Injunction could not have barred
Apple from charging any commission, yet the district court has now invoked
the contempt power to engage in the most extreme form of rate-setting—
precluding Apple, forever, from charging for access to its property.

Worse, the no-commission rule permanently “appropriates for the

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enjoyment of third parties [Apple’s] right to exclude.” Cedar Point Nursery
v. Hassid, 594 U.S. 139, 149 (2021). The district court improperly deprived
Apple of the right to exclude, concluding erroneously that “Apple does not
have an absolute right to [its] intellectual property.” Ex. A at 60 n.65. Epic’s
effort to cabin this right to physical takings, Opp’n 18, fails because the
Takings Clause protects intellectual property as well. See Horne v. Dep't of
Agric., 576 U.S. 350, 359-60 (2015); James v. Campbell, 104 U.S. 356, 358
(1881) (Gntellectual property “cannot be appropriated or used by the

government itself ... any more than it can appropriate or use without

compensation land”). The Order constitutes a judicial taking.
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B. The No-Condition Rule Is Unlawful

Epic identifies no language in the Injunction that arguably enjoins
Apple from setting any conditions on link placement or language.

Epic also cannot refute that the no-condition rule contravenes the
mandate: This Court held that it was “clearly lawful” for Apple to require
developers to exclusively use [AP for in-app purchases. 67 F.4th at 998. Yet,
as Epic does not dispute, the new no-condition rule allows developers to
interfere with that exclusivity through link placement (e.g., in the IAP
purchase flow) or language (e.g., disparagement of IAP). See Oliver Decl. 4
17-18. The Injunction prohibited Apple from precluding links, but said
nothing about destroying the exclusivity of LAP.

Epic does not deny that the no-condition rule requires Apple to carry
on its platform speech with which it disagrees. Epic tries to distinguish
Moody v. NetChoice, LLC, 603 U.S. 707 (2024), by asserting that “it is
developers, not Apple, who own and are responsible for the content on their
apps.” Opp’n 20. But NetChoice similarly involved platforms for third-party
content and found that forcing platforms to “accommodate messages [they]
would prefer to exclude” triggers their own First Amendment rights. 603

U.S. at 731. So too here. Yet, the district court barred Apple from setting
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conditions on links without addressing Apple's First Amendment rights as
the platform operator, and it did so because of its perceptions about Apple’s
motivations. Both the methodology and the outcome are legally erroneous.

C. The Injunction Cannot Be Enforced Prospectively

Rule 60(b) provides an independent basis to vacate the contempt
sanctions. Epic’s contention that “there is no conflicting state judgment,”
Opp’n 21, blinks reality. The Beverage trial court adjudicated the same
state-law claim under the UCL, in a case brought by Epic’s own
customers, and the California court entered judgment in Apple’s favor on
that claim. Conflicts do not get more direct. Apple promptly brought
Beverage to the district court’s attention, but the court proceeded with
the contempt proceedings anyway.

Epic has no meaningful response to Venoco, LLC v. Plains Pipeline,
L.P., 2022 WL 1090947, at *2-3 (9th Cir. Apr. 12, 2022), which is
strikingly similar. See also Mot. 19 (collecting other cases). In Venoco,
the California appellate court broke from a prior Ninth Circuit decision
because it failed to “analyzle] the facts or reasoning of ... cases that
provide[d] for immunity.” State Lands Comm'n v. Plains Pipeline, LP, 57

Cal. App. 5th 582, 587 (2020). Here too, the California appellate court

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reached the opposite result from this Court’s prior decision after breaking
from that decision because it did not engage in “a rigorous analysis of the
Colgate doctrine and its effect on UCL claims.” Beverage v. Apple Inc.,
101 Cal. App. 5th 736, 756 n.6 (2024).

Epic also ignores the full faith and credit problem: The Injunction
and Order override the Beverage judgment in Apple’s favor on the same
state-law claim, transforming Apple’s win into an outright loss. Epic fails
to mention comity or federalism, even though the Injunction exports
nationwide the erroneous resolution of a state-law claim. And the new
and erroneous prohibitions apply to all developers, even though Epic
never sought to certify a class. Those serious inequities warrant Rule
60(b) relief and further support a stay pending appeal.

II. Apple Will Suffer Irreparable Harm Absent A Stay

Epic does not dispute that, if a stay is denied but Apple later wins
its appeal, Apple will suffer irreparable harm: According to the Order,
Apple stands to lose “hundreds of millions to billions” of dollars annually,
and Apple will be unable to recover those sums from Epic because they
will be in the pockets of non-parties. See Mot. 22-23. Epic asserts that

“Apple’s loss of revenue is not a ‘harm’; it is the intended result of a fully

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adjudicated Injunction.” Opp’n 2. But that argument presupposes that
Epic will win on the merits. Without a stay, Apple will suffer irreparable
harm if it wins, which is the crux of the inquiry at this stage. See Am.
Trucking Ass'ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1059 (9th Cir.
2009).

The no-condition rule will also cause irreparable harm. “Several
prominent developers have already had applications with external
purchase links placed on the App Store.” Opp’n 26 n.6. Precluding Apple
from restricting the content or placement of those links will cause Apple
irreparable harm through the loss of IAP exclusivity and diminished
commission revenue on transactions for digital content.

III. The Remaining Factors Favor a Stay

Epic will suffer little or no harm from a stay. The sole plaintiff, Epic
Games, Inc., has no apps on the App Store. On May 20, 2025, Apple
agreed to allow distribution of Fortnite through an Epic affiliate that is
not a party to this litigation. See https://www.cnbc.com/2025/05/20/apple-
fortnite-app-store-epic-games.html. Ifthe stay is granted, that non-party

might or might not pay some indeterminate amount of commissions on

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linked transactions, depending on the decisions it makes in the future.
That is not an irreparable harm to Epic.

The public interest would be served from a partial stay. Apple seeks
to pause sweeping changes to the App Store until this Court has an
opportunity to decide this expedited appeal. Preserving the status quo is
a quintessential basis for a stay. Doe #1 v. Trump, 957 F.3d 1050, 1068—
69 (9th Cir. 2020). And that weighs particularly heavily here given
that—as established by evidence that Epic does not dispute—Apple is
being forced to fundamentally change core aspects of its platform. See
Oliver Decl. §[{] 17—20; see also https://www.nytimes.com/2025/05/15/tech
nology/personaltech/iphone-app-store-changes.html. This Court should
pause the two rules at issue in this motion to avoid disruption to a
platform that is trusted by small developers and millions of consumers
nationwide.

CONCLUSION

The Court should enter a partial stay pending appeal.

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CERTIFICATE OF COMPLIANCE

The undersigned counsel of record certifies that the brief complies with
the type-volume limitation of Fed. R. App. P. 27(d)(2) and Circuit Rule 27-
1(1)(d) because, excluding the parts of the brief exempted by Fed. R. App. P.
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CERTIFICATE OF SERVICE
I hereby certify that on May 23, 2025, I electronically filed the
foregoing Reply In Support of Motion to Stay Injunction Pending
Appeal with the Clerk of the Court for the United States Court of Appeals
for the Ninth Circuit by using the appellate ACMS system, which will send
notification of such filing to all ACMS participants.

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